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 7

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:14-CR-00047-AWI-BAM-2

12                                  Plaintiff,           STIPULATION AND ORDER REFERRING
                                                         MOTION FOR SENTENCE REDUCTION TO
13                           v.                          FEDERAL DEFENDER’S OFFICE AND
                                                         PROBATION OFFICE
14   GERARDO ALVAREZ-MONTANEZ,

15                                 Defendant.

16

17          The Court is in receipt of a motion to reduce a criminal sentence pursuant to Title 18, United

18 States Code, Section 3582(c)(2). The Court refers this motion to the Probation Office (Probation Officer

19 Brian Bedrosian) and the Office of the Federal Defender and Assistant Federal Defender David M.

20 Porter, pursuant to General Order No. 546. The Federal Defender’s Office shall have 60 days from the

21 date the Court approves the stipulation/order to conduct an initial review of the motion to determine the

22 status of representation of the defendant.

23          1.      If the Federal Defender’s Office determines that the defendant is eligible for

24 representation and agrees to represent the defendant, a representative of the Federal Defender’s Office

25 shall file a notice of appearance in the case. If the matter has been referred to panel counsel due to a

26 conflict of interest, a copy of this order shall be forwarded by the Federal Defender’s Office to appointed
27 panel counsel who shall then determine whether the motion is meritorious and, if so, file a notice of

28 appearance in the case.

      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
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 1          2.      The notice of appearance shall indicate whether counsel intends to supplement the

 2 defendant’s motion.

 3          3.      If the defendant does not intend to supplement the motion, the government’s response

 4 will be due 14 days following counsel’s notice of appearance.

 5          4.      If defendant’s counsel intends to supplement the defendant’s motion, then the notice of

 6 appearance shall indicate the date upon which the supplement will be filed and the date upon which the

 7 government’s response shall be due. Such dates should be mutually agreeable to the parties.

 8          5.      If the parties agree that a hearing is necessary, the notice of appearance shall include the

 9 date of the hearing, preferably no earlier than two weeks after the government’s response is filed. If the

10 parties are not in agreement that a hearing is necessary, that issue should be addressed in the parties’

11 respective filings.

12          6.      Should no counsel enter an appearance on behalf of the defendant, the government will

13 file a response within 14 days of the expiration of the 30-day period referred to above.

14          7.      Upon review of the motion and response, the Court will determine whether oral argument

15 or hearing will aid its determination of the motion and notify counsel of its decision.

16 Dated: June 4, 2015                                      BENJAMIN B. WAGNER
                                                            United States Attorney
17

18                                                          /s/ Kathleen A. Servatius
                                                            KATHLEEN A. SERVATIUS
19                                                          Assistant United States Attorney
20
     Dated: June 4, 2015                                    HEATHER E. WILLIAMS
21                                                          Federal Defender
22
                                                            /s/ David M. Porter
23                                                          DAVID M. PORTER
                                                            Assistant Federal Defender
24                                                          Attorney for Defendant
25
     IT IS SO ORDERED.
26
27 Dated: June 4, 2015
                                                    SENIOR DISTRICT JUDGE
28

      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
